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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW HAMPSHIRE


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                                             *
  In re: Rosemary Koravos                    *         BK# 19-10970-BAH
                                             *         Chapter 7
            Debtor(s)                        *
  ***************************



                APPLICATION TO EMPLOY THE LAW OFFICE OF TIMOTHY P.SMITH
                          AS SPECIAL COUNSEL TO THE TRUSTEE

         NOW COMES, Timothy P. Smith (“Trustee”) to request that this court enter an
  order authorizing him to retain The Law Office of Timothy P. Smith Esq as counsel to
  the Trustee. In support of this application the Trustee states the following:


           1. This case was commenced by the filing of a voluntary petition under chapter
              7 on July 15, 2019.

           2. Timothy P. Smith is the duly appointed Chapter 7 Trustee.

           3. Counsel will prepare all pleadings, appear at all hearings, prepare and review
              legal documents on behalf of the Trustee and provide general legal advice as
              needed.

           4. Timothy P. Smith is a disinterested person (See attached affidavit)

           5. Timothy P. Smith’s normal hourly rate is $325.00 per hour.




           WHEREFORE, the Trustee respectfully requests that this court enters an Order
  which:

           A.     Approves the retention of Timothy P. Smith as Counsel to the
                  Trustee.

           B.     Grants such other relief as is fair and equitable.


                                                 Respectfully Submitted,
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  Dated: August 27, 2019        By:   /s/ Timothy P. Smith
                                         Timothy P. Smith, Esq.
                                         102 Middle Street
                                          Manchester, NH 03101
                                          603-623-0036
